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                                            UNITED STATES DISTRICT COURT
                                                    District of Oregon

                              NOTICE OF JUDICIAL REASSIGNMENT



    Date of Reassignment:                                                      December 19, 2018
    Case Number:                                                            6:18−cv−01659−MK
    Case Title:                                                          Sharipoff v. Myers et al


     (A)   Case Reassignment: In accordance with the Court's Case Management Plan, the
above−captioned case has been reassigned from the Honorable Michael H. Simon to the Honorable
Mustafa T. Kasubhai, United States District Judge Information on this case may be obtained from the
following:

                  Courtroom Deputy:     Jackie Klein
                                        Telephone: 541−431−4119
                                        Email: jackie_klein@ord.uscourts.gov
                Docket Information:     Telephone: 541−431−4100
     (B)    Place of Filing: Unless electronically filed, an original and copy of all documents will be
filed with the Clerk's Office, Wayne L. Morse Courthouse, 405 East Eighth Ave., Eugene, OR, 97401.

    (C)     Change to the Case Number: Effective immediately, Judge Kasubhai's initials (MK)
will replace the previous judge's initials in this case.


                                                                  MARY L. MORAN
                                                                  Clerk of Court

cc:      Judge Kasubhai
         Counsel of Record




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 All United States Magistrate Judges in this District are certified to exercise civil jurisdiction in
assigned cases and, with the consent of the parties, may also enter final orders on dispositive motions,
conduct trial, and enter final judgment which may be appealed directly to the Ninth Circuit Court of
Appeals (instead of to a District Judge). We strongly encourage the parties to consent to the
jurisdiction of a U.S. Magistrate Judge over dispositive motions, trial, and entry of final judgment in
this case by signing and filing a Consent to Jurisdiction by a United States Magistrate Judge. There
are no adverse consequences for failure to file a Consent.
